                    IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-83

                                         No. 242A20-1

                                     Filed 13 August 2021

     NORTH CAROLINA FARM BUREAU MUTUAL INSURANCE COMPANY, INC.

                   v.
     JUDY LUNSFORD


           Appeal from the opinion of a divided Court of Appeals panel, 271 N.C. App. 234
     (2020), affirming entry of Order and Declaratory Judgment in favor of the plaintiff

     on 3 February 2019 by Judge Michael D. Duncan in Superior Court, Guilford County.

     Heard in the North Carolina Supreme Court on 17 May 2021.


           William F. Lipscomb for the Plaintiff-Appellee.

           Burton Law Firm, PLLC, by Jason M. Burton, for the Defendant-Appellant.

           Jon. R. Moore and C. Douglas Maynard, Jr., for North Carolina Advocates for
           Justice, amicus curiae.

           Bailey &amp; Dixon, LLP, by J.T. Crook, for North Carolina Association of Defense
           Attorneys, amicus curiae


           EARLS, Justice.

¶1         Cars and people are, naturally, mobile. They regularly traverse state lines.

     Unfortunately, but inevitably, cars and people also get into accidents. When they do,

     it can raise issues regarding which state’s law governs the interpretation of various

     provisions of each of the involved parties’ insurance contracts. In this case, we must
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     determine whether a North Carolina resident is entitled to collect underinsured

     motor vehicle coverage benefits from her North Carolina insurer, after she was

     injured while traveling in Alabama in a car owned and operated by a Tennessee

     resident and insured by a Tennessee insurer. To answer that question, we must

     decide if North Carolina or Tennessee law applies when ascertaining whether the

     Tennessee vehicle is “underinsured” within the meaning of a contract executed in

     North Carolina between a North Carolina resident and a North Carolina insurer.

¶2         Judy Lunsford, a North Carolina resident, was a passenger in her sister

     Levonda Chapman’s vehicle when a serious accident occurred as they were travelling

     through Alabama. Chapman negligently drove her vehicle across a highway median

     into oncoming traffic, where it collided with an 18-wheeler. As a result of the accident,

     Lunsford was severely injured. Chapman was tragically killed.

¶3         Chapman was insured by a Nationwide Insurance Company policy purchased

     in her home state of Tennessee. As a passenger in Chapman’s vehicle, Lunsford was

     entitled to recover from Nationwide, under the terms of Chapman’s bodily injury

     liability coverage. Nationwide offered—and Lunsford accepted—the full $50,000

     available under the policy’s per person bodily injury coverage limit. Lunsford also

     claimed she was entitled to coverage under the underinsured motorist (UIM)

     provision of her own insurance contract executed in North Carolina with a different

     insurer, North Carolina Farm Bureau Mutual Insurance Company, Inc. (NC Farm
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     Bureau). NC Farm Bureau denied her claim and initiated a declaratory judgment

     action to establish its liability to Lunsford. The trial court agreed with NC Farm

     Bureau’s position, concluding that Chapman’s vehicle was not an “underinsured

     highway vehicle” as defined under North Carolina’s Financial Responsibility Act

     (FRA). A divided panel of the Court of Appeals affirmed.

¶4         In its argument before this Court, NC Farm Bureau concedes that the majority

     below “employed incorrect reasoning” in reaching its conclusion that Lunsford was

     not entitled to coverage under the UIM provision of her insurance contract. Still, NC

     Farm Bureau argues the Court of Appeals “reached the correct result” in affirming

     the trial court’s entry of declaratory judgment for NC Farm Bureau, contending that

     Chapman’s vehicle is not an underinsured motor vehicle as defined by the terms of

     Chapman’s Nationwide insurance contract, which incorporates Tennessee law.

¶5         However, in determining whether Lunsford is entitled to collect pursuant to

     the contract she entered into with NC Farm Bureau, we must apply North Carolina

     law to interpret the terms of a contract executed in North Carolina that necessarily

     incorporates North Carolina’s FRA. We need not interpret Chapman’s Nationwide

     insurance contract incorporating Tennessee law. Resolving this dispute does not

     require us to adjudicate any of Chapman’s or Nationwide’s rights, nor does it

     implicate any other state’s interest in enforcing its own laws regulating the provision

     and maintenance of motor vehicle insurance.
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¶6         Applying North Carolina law, we affirm prior decisions of the Court of Appeals

     allowing interpolicy stacking when calculating the “applicable” policy limits as

     required under the relevant provision of the FRA, N.C.G.S. § 20-279.21(b)(4) (2019).

     Because the amount of the stacked UIM coverage limits exceeds the sum of the

     applicable bodily injury coverage limits, Chapman’s car is an “underinsured motor

     vehicle” as defined by the FRA for the purposes of giving effect to Lunsford’s contract

     with NC Farm Bureau. Accordingly, we reverse the decision of the Court of Appeals,

     vacate the trial court’s order entering declaratory judgment for NC Farm Bureau,

     and remand to the trial court for further proceedings consistent with this opinion.

                                  I.   Factual Background

¶7         At the time of the crash, both Lunsford and Chapman maintained motor

     vehicle accident insurance policies. Chapman’s Nationwide policy provided her and

     her vehicle with bodily injury liability coverage subject to limits of $50,000 per person

     and $100,000 per accident, and UIM coverage subject to the same limits. Lunsford’s

     NC Farm Bureau policy provided her with UIM coverage subject to the same limits

     as Chapman’s bodily injury liability coverage ($50,000 per person / $100,000 per

     accident). After the crash, Nationwide offered, and Lunsford accepted, the full

     $50,000 available under the Nationwide bodily injury liability policy per person limit.

     Lunsford then sought an additional $50,000 in UIM coverage from her own insurer,

     NC Farm Bureau.
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¶8         NC Farm Bureau denied Lunsford’s claim and initiated a declaratory

     judgment action in Superior Court, Guilford County seeking a ruling establishing

     that “the UIM coverage of [the NC Farm Bureau policy] does not apply to [Lunsford’s]

     injuries from the . . . motor vehicle collision in question and that [Lunsford] is not

     entitled to recover any UIM coverage from said policy.” NC Farm Bureau contended

     that Chapman’s vehicle was not an “underinsured motor vehicle” under North

     Carolina law. Lunsford argued in response that, under the relevant provision of the

     FRA as interpreted by the Court of Appeals in Benton v. Hanford, 195 N.C. App. 88
     (2009), she was entitled to stack her NC Farm Bureau UIM coverage limit ($50,000)

     with the Nationwide UIM coverage limit ($50,000) for the purposes of determining

     whether “the applicable limits of underinsured motorist coverage for the vehicle

     involved in the accident and insured under the owner's policy” exceeded “the sum of

     the limits of liability under all bodily injury liability bonds and insurance policies

     applicable at the time of the accident.” Id. at 92 (quoting N.C.G.S. § 20-279.21(b)(4)).

     After stacking the policies, Lunsford contended she would be entitled to recover UIM

     benefits from NC Farm Bureau because the stacked UIM limits ($100,000) would be

     greater than Nationwide’s bodily injury liability coverage limit ($50,000).

¶9         On 19 December 2018, the trial court entered judgment on the pleadings in NC

     Farm Bureau’s favor. The trial court reasoned that because the Nationwide insurance

     contract was executed in Tennessee, “Chapman’s policy is governed by Tennessee
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       law.” Under Tennessee law, an “uninsured1 motor vehicle does not include a motor

       vehicle . . . [i]nsured under the liability coverage of the same policy of which the

       uninsured motor vehicle coverage is a part.” Tenn. Code § 56-7-1201(2) (2016).

       Because Chapman’s vehicle was “insured under the liability coverage of the same

       policy from which the claimant [Lunsford] is seeking UIM coverage,” the trial court

       concluded that Chapman’s vehicle “cannot be an underinsured motor vehicle under

       Chapman’s policy, the UIM coverage of Chapman’s policy does not apply to the

       accident in question and, therefore, it is not ‘applicable’ UIM coverage within the

       meaning of the North Carolina UIM statute’s definition of the ‘underinsured highway

       vehicle’ and [Benton].” Since the Nationwide UIM coverage was not “applicable,”

       there was no limit for Lunsford to stack with her own NC Farm Bureau UIM coverage

       limit. Defined thusly, “Chapman’s vehicle does not satisfy [the FRA’s definition of an

       underinsured motor vehicle] because the liability coverage of Chapman’s policy

       ($50,000 / $100,000) is equal to (not less than) the UIM coverage of Lunsford’s policy.”

¶ 10         A divided panel of the Court of Appeals affirmed, but on a different rationale

       than the one utilized by the trial court. The majority agreed with the trial court that

       Chapman’s Nationwide UIM policy was not “applicable at the time of an accident

       under [N.C.G.S.] § 20-279.21(b)(4).” North Carolina Farm Bureau Mut. Ins. Co., Inc.



             1 Chapman’s contract uses the term “uninsured motor vehicle” in a manner which

       encompasses what would be termed an “underinsured motor vehicle” under North Carolina
       law. We use the latter throughout for ease of reading.
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       v. Lunsford, 271 N.C. App. 234, 238 (2020). However, the majority’s conclusion that

       the Nationwide policy was not “applicable” rested upon its belief that Lunsford did

       not “qualif[y] as a ‘person insured’ [under the Nationwide policy] as that term is

       defined by [N.C.G.S. § 20-279.21(b)(3)].” Id. According to the majority, because

       Lunsford was neither “the named insured [nor], while resident of the same household,

       the spouse of the named insured [or] relatives of either,” she did not “qualif[y] as a

       ‘person insured’ ” under Chapman’s Nationwide policy, precluding Lunsford from

       stacking the Nationwide UIM coverage limit. Id. at 237 (quoting Sproles v. Greene,

       329 N.C. 603, 608 (1991)).

¶ 11         Judge Murphy dissented based upon his interpretation of Chapman’s contract

       with Nationwide. According to Judge Murphy, Chapman’s Nationwide policy

       contained a “conformity clause” stating that the insurer would “adjust this policy to

       comply . . . [w]ith the financial responsibility law of any state or province which

       requires higher liability limits than those provided by this policy.” Id. at 242–43

       (Murphy, J., dissenting). Therefore, Judge Murphy read Chapman’s Nationwide

       policy as “explicitly incorporat[ing] our FRA,” requiring the court to apply the

       definition of an “underinsured motor vehicle” provided by N.C.G.S. § 20-279.21(b)(4).

       Id. at 242. Under this definition of an underinsured motor vehicle, as interpreted by

       the Court of Appeals in Benton, Lunsford was entitled to “stack the $50,000.00 limit

       of UIM coverage in Chapman's Nationwide policy with the $50,000.00 limit of UIM
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       coverage in Lunsford's [NC Farm Bureau] policy.” Id. at 245.

¶ 12         Judge Murphy also disputed the majority’s conclusion that Lunsford was not

       a “person[ ] insured” by Chapman’s Nationwide policy. He noted that in Sproles, this

       Court interpreted the relevant provision of the FRA, N.C.G.S. § 20-279.21(b)(3), to

                    essentially establish[ ] two “classes” of “persons insured”:
                    (1) the named insured and, while resident of the same
                    household, the spouse of the named insured and relatives
                    of either and (2) any person who uses with the consent,
                    express or implied, of the named insured, the insured
                    vehicle, and a guest in such vehicle.

       Id. at 244. Applying Sproles, Judge Murphy concluded that “Lunsford, as the named

       insured, is a class one insured with respect to the NCFB policy . . . . She is also a class

       two insured with respect to Chapman's Nationwide policy as a guest in the insured

       vehicle with consent of the named insured.” Id.

                                          II.     Analysis

¶ 13         All insurers doing business in North Carolina are required to offer UIM

       coverage. See N.C.G.S § 20-279.21(b)(4) (stating that every insurer’s “policy of

       liability insurance . . . [s]hall . . . provide underinsured motorist coverage”). “The

       purpose of underinsured motorist (UIM) coverage in our state is to serve as a

       safeguard when tortfeasors’ liability policies do not provide sufficient recovery—that

       is, when the tortfeasors are ‘under insured.’ ” Lunsford v. Mills, 367 N.C. 618, 632
       (2014) (Newby, J., concurring in part, dissenting in part). UIM coverage kicks in when

       the insured is injured due to the tortious conduct of another driver. “Following an
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       automobile accident, a tortfeasor's liability coverage is called upon to compensate the

       injured plaintiff, who then turns to his own UIM coverage when the tortfeasor's

       liability coverage is exhausted.” Harris v. Nationwide Mut. Ins. Co., 332 N.C. 184,

       188 (1992) (emphasis added); see also Douglas R. Richmond, Issues and Problems in

       “Other Insurance,” Multiple Insurance, and Self-Insurance, 22 Pepp. L. Rev. 1373,

       1420 (1995) (“UIM policies provide first-party coverage” to insureds).

¶ 14         To determine whether Lunsford is entitled to access the UIM coverage she

       purchased from NC Farm Bureau, “[t]he threshold question . . . is whether the tort-

       feasor’s vehicle is an ‘underinsured highway vehicle’ as the term is used in N.C.G.S.

       § 20–279.21(b)(4).” Harris, 332 N.C. at 187. Under N.C.G.S. § 20–279.21(b)(4), a

       vehicle is an “underinsured highway vehicle” if

                    the sum of the limits of liability under all bodily injury
                    liability bonds and insurance policies applicable at the time
                    of the accident is less than the applicable limits of
                    underinsured motorist coverage for the vehicle involved in
                    the accident and insured under the owner's policy.

¶ 15         Everyone agrees that the only bodily injury liability insurance policy

       “applicable at the time of the accident” is Lunsford’s Nationwide policy, and that

       Lunsford’s NC Farm Bureau UIM policy is an “applicable” UIM coverage limit. The

       crux of the parties’ dispute is whether Chapman’s Nationwide UIM coverage limit is

       also an “applicable limit of underinsured motorist coverage for the vehicle involved

       in the accident and insured under the owner’s policy.” Lunsford says it is. NC Farm
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       Bureau says it is not.

¶ 16         Because of each policy’s respective limits, the answer to this question is

       dispositive in this case. If the Nationwide UIM coverage limit is “applicable,” then—

       under Court of Appeals precedent which NC Farm Bureau does not challenge—

       Lunsford is entitled to stack the Nationwide UIM coverage limit ($50,000) with the

       NC Farm Bureau coverage limit ($50,000). Benton, 195 N.C. App. at 92 (“UIM

       coverage may be stacked interpolicy to calculate the applicable limits of underinsured

       motorist coverage for the vehicle involved in the accident for the purpose of

       determining if the tortfeasor's vehicle is an ‘underinsured highway vehicle.’ ”). If

       Lunsford is entitled to stack the Nationwide and NC Farm Bureau UIM coverage

       limits, “the sum of the limits of liability under all bodily injury liability bonds and

       insurance policies applicable at the time of the accident” (Nationwide’s $50,000 bodily

       injury coverage limit) would be “less than the applicable limits of underinsured

       motorist coverage for the vehicle involved in the accident and insured under the

       owner's policy” (the $100,000 in stacked UIM coverage limits), and Chapman’s vehicle

       would be “underinsured.” If the Nationwide UIM coverage limit is not “applicable,”

       then it cannot be stacked with Lunsford’s NC Farm Bureau coverage limit, the bodily

       injury liability coverage limit ($50,000) would be equal to the sum of the “applicable”

       UIM coverage limits ($50,000), and Chapman’s vehicle would not be “underinsured.”

¶ 17         Initially, we reject the distinction the majority below relied upon in arriving at
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       its conclusion that Chapman’s Nationwide coverage limit was not “applicable” within

       the meaning of N.C.GS. § 20-279.21(b)(4). As Judge Murphy’s dissent correctly

       explains, there are two “classes” of “persons insured” set forth in N.C.G.S. § 20-

       279.21(b)(3), “Class I” insureds (named insureds and relatives who reside in the

       insured’s household) and “Class II” insureds (individuals using a vehicle with the

       driver’s consent). Lunsford is plainly a “Class I” insured with regards to the NC Farm

       Bureau policy and a “Class II” insured with regards to the Nationwide policy.

       Therefore, the fact that Lunsford is not a relative who resides in Chapman’s

       household is irrelevant. NC Farm Bureau acknowledges as much—in their

       presentation to this Court, they concede that “it is undisputed that Lunsford was an

       insured of Chapman’s UIM coverage . . . because she was occupying Chapman’s

       vehicle and the [c]ourt’s opinion does not explain why her status as a Class II insured

       of the Chapman policy prevents that policy from being applicable within the meaning

       of N.C.GS. § 20-279.21(b)(4).”

¶ 18         Rather than defend the Court of Appeals’ reasoning—or ask this Court to

       overrule Benton and other cases recognizing the propriety of interpolicy stacking—

       NC Farm Bureau contends that interpolicy stacking is not permitted in this case

       because Chapman was a Tennessee resident who entered into a contract with

       Nationwide in Tennessee. In NC Farm Bureau’s view, Chapman’s Nationwide

       contract does not incorporate North Carolina’s FRA, and it need not, because it was
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       executed in Tennessee and North Carolina lacks any substantial connection to

       Chapman or the accident at issue. By extension, NC Farm Bureau contends that the

       terms of the Nationwide contract, which incorporate Tennessee’s definition of an

       underinsured motor vehicle, supply the definition to be applied in determining

       whether Chapman’s vehicle is underinsured. It is uncontroverted that under the

       relevant Tennessee statute, Tenn. Code § 56-7-1201(2), Chapman’s vehicle cannot be

       underinsured.

¶ 19         To be clear, NC Farm Bureau does not dispute that (1) Lunsford is seeking

       UIM coverage under her own insurance policy issued by NC Farm Bureau pursuant

       to a contract entered into in North Carolina, (2) all automobile accident insurance

       policies executed in North Carolina necessarily incorporate North Carolina’s FRA,

       and (3) this Court must apply North Carolina law when interpreting an insurance

       policy issued in North Carolina to a North Carolina insured. What NC Farm Bureau

       appears to be arguing is that North Carolina law requires us to look to the terms of

       Chapman’s Nationwide policy to ascertain whether the UIM coverage limit contained

       therein is an “applicable limit[ ] of underinsured motorist coverage for the vehicle

       involved in the accident and insured under the owner's policy.” N.C.G.S. § 20-

       279.21(b)(4) (emphasis added). As we understand it, NC Farm Bureau’s position can

       be articulated as follows: When an individual is injured by a driver’s tortious conduct,

       the driver’s UIM coverage limit is not an “applicable limit[ ] of underinsured motorist
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       coverage for the vehicle involved in the accident and insured under the owner's policy”

       which can be stacked with the injured party’s UIM coverage limit if, under the terms

       of the tortfeasor’s contract, the vehicle is not underinsured.

¶ 20         The essential question in this case is one of statutory interpretation: What did

       the General Assembly intend by using the phrase “applicable limits of underinsured

       motorist coverage for the vehicle involved in the accident and insured under the

       owner's policy” in N.C.G.S. § 20-279.21(b)(4)? “The primary objective of statutory

       interpretation is to ascertain and effectuate the intent of the legislature.” Lunsford

       v. Mills, 367 N.C. at 623. “The intent of the General Assembly may be found first from

       the plain language of the statute, then from the legislative history, the spirit of the

       act and what the act seeks to accomplish.” Lenox, Inc. v. Tolson, 353 N.C. 659, 664
       (2001) (cleaned up). Thus, we begin with the statutory language the General

       Assembly selected. “If the language of a statute is clear, the court must implement

       the statute according to the plain meaning of its terms so long as it is reasonable to

       do so.” Id. If the language is ambiguous or susceptible to multiple meanings, we turn

       to the other sources to identify the General Assembly’s intent.

¶ 21         Read in context, the General Assembly’s choice of the term “applicable” does

       not unambiguously answer the question of whether an injured party is or is not

       permitted to stack the tortfeasor’s UIM coverage limit under these circumstances.

       Black’s Law Dictionary defines applicable as “1. Capable of being applied; fit and
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       right to be applied. 2. (Of a rule, regulation, law, etc.) affecting or relating to a

       particular person, group, or situation; having direct relevance.” Black’s Law

       Dictionary (11th ed. 2019). Citing a similar dictionary definition, NC Farm Bureau

       argues that “[t]he UIM coverage of Chapman’s policy is not capable of being applied

       to Lunsford’s claim because the policy provisions, and the applicable Tennessee

       statutes, preclude her vehicle from being an underinsured vehicle for the UIM

       coverage of her policy.”

¶ 22         But this tautological proposition smuggles into the FRA the very premise NC

       Farm Bureau seeks to uncover in the statutory text. The provision does not state that

       “applicable” means “contained in a policy which would by its own terms define the

       tortfeasor’s vehicle as underinsured.” The text contains only the phrase “applicable

       limits.” The question before this Court is what meaning the General Assembly

       intended to communicate by including that phrase. NC Farm Bureau offers one

       possible answer, but that answer cannot be derived from the text alone, and we must

       not read into a statute “language that simply is not there.” Boseman v. Jarrell, 364

       N.C. 537, 554 (2010) (Hudson, J., dissenting); see also Borden v. United States, 141

       S.Ct. 1817, 1829 (2021) (“[W]e must construe the [statutory clause] as it is—without

       first inserting the word[s] that will (presto!) produce the dissent’s reading.”).

¶ 23         Benton and the other cases construing N.C.G.S. § 20–279.21(b)(4) to allow

       interpolicy stacking do not precisely define the phrase “applicable limits.” Still,
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       nothing in those cases supports NC Farm Bureau’s proposed construction. In

       Benton—which, we reiterate, NC Farm Bureau does not challenge—the Court of

       Appeals did not refer to the tortfeasor’s state of residence. The Court of Appeals

       explicitly rejected the tortfeasor’s insurer’s effort to define “underinsured motor

       vehicle” in accordance with the terms of the tortfeasor’s UIM policy, instead defining

       “underinsured motor vehicle” in accordance with the terms of the FRA. Benton, 195

       N.C. App. at 91–92 (“Because the [FRA] specifically defines ‘underinsured highway

       vehicle[,]’ . . . we turn to the Act and the cases interpreting it without regard to the

       definition of the term in the [tortfeasor’s] policy.”). In applying the definition supplied

       by the FRA, the Benton court without further explanation treated “the UIM coverage

       for the vehicle owned by the [tortfeasor] policy holder” as “applicable.” Id. at 97.

¶ 24         Even though Benton interpreted and applied N.C.G.S. § 20–279.21(b)(4), the

       decision contains no reference to the fact NC Farm Bureau and the dissent now claims

       was dispositive.2 Acknowledging this omission, NC Farm Bureau invites us to take



             2 Although Benton is not controlling, it is also not irrelevant, as the dissent suggests.

       In addition to not asking this Court to consider whether Benton was wrongly decided, NC
       Farm Bureau does not dispute that Benton was the governing law at the time it entered into
       an insurance contract with Lunsford. Thus, although we undoubtedly have the authority to
       displace Benton, doing so sua sponte would risk depriving the parties of the benefit of the
       bargain they struck. Further, we find it notable that the General Assembly has not acted in
       a way that evinces disagreement with Benton in the years since that case was decided. See,
       e.g., Brown v. Kindred Nursing Centers E., L.L.C., 364 N.C. 76, 83 (2010) (“[L]egislative
       acquiescence is especially persuasive on issues of statutory interpretation. When the
       legislature chooses not to amend a statutory provision that has received a specific
       interpretation, we assume lawmakers are satisfied with that interpretation.”).
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       “judicial notice” that the record in Benton indicates the tortfeasor’s insurance contract

       was executed in North Carolina. We decline the invitation to read Benton as turning

       on a fact which, upon close examination of the decision itself, appears to have been

       entirely extraneous to the court’s reasoning and ultimate holding. We are

       unconvinced by NC Farm Bureau’s effort to find in Benton a legal rule the court did

       not propound.

¶ 25         Instead, we understand the General Assembly’s use of the phrase “applicable

       limits” to refer to the UIM coverage limits contained within the insurance policy

       covering the tortfeasor’s vehicle, in a circumstance such as this one where the

       tortfeasor is the driver and the injured party is a passenger seeking to access the UIM

       coverage contained within his or her own policy incorporating North Carolina’s FRA.

       This interpretation is consistent with “the spirit of the [FRA] and what the [FRA]

       seeks to accomplish.” Lenox, 353 N.C. at 664 (cleaned up).

¶ 26          “The avowed purpose of the Financial Responsibility Act, of which N.C.G.S.

       § 20–279.21(b)(4) is a part, is to compensate the innocent victims of financially

       irresponsible motorists. It is a remedial statute to be liberally construed so that the

       beneficial purpose intended by its enactment may be accomplished.” Sutton v. Aetna

       Cas. &amp; Sur. Co., 325 N.C. 259, 265 (1989) (citation omitted). Interpreting the

       ambiguous language contained in N.C.G.S. § 20–279.21(b)(4) to permit interpolicy

       stacking in this circumstance is “[i]n keeping with the purpose of the [FRA]” because
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       it allows injured North Carolina insureds to access the UIM coverage they paid for in

       a greater number of circumstances, reducing the likelihood that the costs of the

       damage caused by an underinsured tortfeasor will be borne by the insured alone.

       Benton, 195 N.C. App. at 92; see also Proctor v. North Carolina Farm Bureau Mut.

       Ins. Co., 324 N.C. 221, 225 (1989) (“[T]he statute's general purpose, which has not

       been changed, is best served when the statute is interpreted to provide the innocent

       victim with the fullest possible protection.”). The magnitude of North Carolina’s

       interest in protecting insureds in no way depends upon the state in which the

       tortfeasor executed his or her insurance contract. Nor is there any reason to look to

       another state’s law in defining the circumstances under which a North Carolina

       insured can access UIM coverage under his or her own insurance policy.

¶ 27         Further, NC Farm Bureau’s proposed interpretation does not reflect the way

       UIM coverage functions. UIM coverage becomes available to an insured from his or

       her own insurer when the damage caused by a tortfeasor exceeds the tortfeasor’s

       bodily injury liability coverage limits. The circumstances under which an insured will

       be able to claim UIM benefits are dictated by the terms and limits of the insured’s

       own contract with his or her insurer—and, by extension when the insurance contract

       is executed in North Carolina, the provisions of the FRA. See, e.g., Lunsford v. Mills,

       367 N.C. at 635 (2014) (Newby, J., concurring in part, dissenting in part) (“[A]n

       insured plaintiff's UIM recovery ‘is controlled contractually by the amount of the UIM
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       policy limits purchased and available to her.’ ”) (quoting Nikiper v. Motor Club of Am.

       Cos., 232 N.J. Super. 393, 398–99, certification denied, 117 N.J. 139 (1989)). It follows

       logically that the availability of UIM coverage to the insured—which hinges upon the

       threshold determination of whether a vehicle is underinsured—should be dictated by

       the terms of the bargain struck by the insured and the insurer, not by the terms of

       the bargain struck by the tortfeasor with his or her insurer. The availability of the

       UIM coverage Lunsford obtained should not be contingent on the tortfeasor

       fortuitously residing in a state whose elected officials share the North Carolina

       General Assembly’s concern for protecting injured insureds to the same extent.

¶ 28         If it were Chapman seeking to recover UIM benefits from Nationwide after an

       accident caused by Lunsford’s tortious driving, then the terms of the Nationwide

       contract would supply the definition of an “underinsured vehicle.”3 But the very

       reason an insurance contract includes a UIM coverage provision is to define the

       circumstances under which another vehicle (the one driven by the tortfeasor) is to be

       considered underinsured, for the purpose of establishing when the insurer’s

       obligation to disburse UIM benefits is triggered. The definition of an underinsured




             3  If this circumstance were presented to this Court, we would be called upon to
       interpret a contract executed in Tennessee incorporating Tennessee law, and NC Farm
       Bureau’s argument that the Full Faith and Credit Clause of Art IV. § 1 of the United States
       Constitution might be relevant. However, in this case, we are called upon to interpret a
       contract executed in North Carolina ordering the relations between two North Carolina
       residents which incorporated North Carolina law.
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                                              2021-NCSC-83

                                            Opinion of the Court



       motor vehicle that a North Carolina insured agrees to with his or her insurer does

       not incorporate or in any way depend upon the definition that would be operative if

       it were the tortfeasor who was seeking to recover under his or her own insurance

       policy.

¶ 29             It is not at all anomalous that a vehicle might be considered “underinsured” as

       that term is defined in a North Carolina contract incorporating the FRA, but not

       “underinsured” as that term is defined in an out-of-state contract incorporating that

       state’s insurance laws. Out of concern for the consequences of leaving North Carolina

       insureds vulnerable to financial ruin, or even simply being undercompensated, when

       they are harmed by irresponsible drivers, North Carolina has chosen to mandate that

       insurers make UIM coverage available in a circumstance where Tennessee has not.

       To give effect to the public policy considerations motivating the General Assembly’s

       legislative choice, and to honor the bargains struck by North Carolinians with their

       insurers in light of the North Carolina FRA, we must apply the definition of an

       “underinsured motor vehicle” chosen by the representatives of the people of North

       Carolina, not the one chosen by the representatives of the people of Tennessee. See

       Fortune Ins. Co. v. Owens, 351 N.C. 424, 428 (2000) (“[A]n automobile insurance

       contract should be interpreted and the rights and liabilities of the parties thereto

       determined in accordance with the laws of the state where the contract was

       entered.”). Therefore, we hold that the UIM coverage limit contained in Chapman’s
                           N.C. FARM BUREAU MUT. INS. CO. V. LUNSFORD

                                              2021-NCSC-83

                                          Opinion of the Court



       Nationwide policy is an “applicable” limit within the meaning of N.C.G.S. § 20–

       279.21(b)(4).4

                                       III.    Conclusion

¶ 30         When a passenger who has previously obtained UIM coverage pursuant to a

       contract executed in North Carolina is injured while travelling in a vehicle driven by

       someone else, and the injury results from that driver’s tortious conduct, the driver’s

       UIM coverage limits are “applicable” within the meaning of N.C.G.S. § 20-

       279.21(b)(4). Under these circumstances, the injured passenger is entitled to stack

       the driver’s UIM coverage limit with the limits contained in the passenger’s own

       policy for the purposes of determining whether the vehicle is an “underinsured motor

       vehicle” within the meaning of his or her own policy, which necessarily incorporates

       North Carolina’s FRA. In this case, after stacking the applicable Nationwide and NC

       Farm Bureau coverage limits, Chapman’s vehicle is “underinsured” as that term is

       defined in N.C.G.S. § 20-279.21(b)(4). Accordingly, we reverse the decision of the

       Court of Appeals and remand to the trial court for entry of an order granting a

       declaratory judgment in favor of Judy Lunsford.

             REVERSED.




             4 Because we reach this conclusion based upon our interpretation of Lunsford’s NC

       Farm Bureau insurance contract and the North Carolina FRA, we do not reach the question
       of whether the “conformity clause” in Chapman’s Nationwide insurance contract incorporates
       N.C.G.S. § 20-279.21(b)(4).
              Justice BARRINGER, dissenting.


¶ 31          This matter concerns the underinsured motorist bodily injury coverage in the

       insurance policy between North Carolina Farm Bureau Mutual Insurance Company,

       Inc. (Farm Bureau) and Judy Lunsford (Lunsford Policy). The material facts are

       undisputed and the law well-established. However, the majority assumes the role of

       the legislature in this matter and ignores our well-establish principles for the

       construction of insurance policies and the determination of what law applies to

       insurance policies. Applying the plain language of the statute enacted by the North

       Carolina legislature to a policy entered in North Carolina and Tennessee law to a

       policy entered in Tennessee, consistent with our precedent, clearly leads to affirming

       the trial court’s granting of judgment on the pleadings in Farm Bureau’s favor.

       Therefore, I respectfully dissent.1

                                          I.    Background

¶ 32          Lunsford, while a resident of North Carolina, applied in North Carolina for and

       was issued in North Carolina the Lunsford Policy from Farm Bureau. The named

       insured for the Lunsford Policy was Lunsford, and the Lunsford Policy covered a 2016

       Toyota RAV4, which at all relevant times, was titled and registered to Lunsford in




              1 However, we agree with the majority and the parties to this appeal that the Court

       of Appeals erred in its application of the classes of insured. N.C. Farm Bureau Mut. Ins. Co.,
       Inc. v. Lunsford, 271 N.C. App. 234, 238–39 (2020). In this matter, it is undisputed that
       Lunsford was an insured under Chapman’s underinsured motorist coverage.
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                                            2021-NCSC-83

                                        Barringer, J., dissenting



       North Carolina. The Lunsford Policy provided uninsured and underinsured motorist

       bodily injury coverage of $50,000 per person/$100,000 per accident.

¶ 33         While a passenger in a 2015 Chevrolet Silverado (Silverado) owned by and

       being driven by Levonda Chapman, a resident of Tennessee, Lunsford was seriously

       injured as a result of Chapman’s negligent driving. The accident occurred in

       Alabama. At the time of the accident, Chapman’s Silverado was covered by an

       automobile insurance policy between Nationwide Mutual Insurance Company

       (Nationwide) and Chapman (Chapman Policy), which provided bodily injury liability

       coverage of $50,000 per person/$100,000 per occurrence and underinsured motorist

       coverage of $50,000 per person/$100,000 per occurrence. The Chapman Policy was

       entered into in Tennessee. Nationwide offered the policy limit of the Chapman Policy

       bodily injury liability coverage, $50,000, to Lunsford.

¶ 34         The dispute between Lunsford and Farm Bureau concerns whether Chapman’s

       vehicle was an underinsured highway vehicle. As relevant to this appeal, the

       underinsured motorist coverage under the Lunsford Policy applies when “[Lunsford]

       is legally entitled to recover from the owner or operator of an underinsured [highway]

       vehicle because of bodily injury sustained by [her] and caused by the accident.”

       Recognizing that the definition of underinsured highway vehicle in the Lunsford

       Policy is narrower than the applicable subsection of the statute, N.C.G.S. § 20-

       279.21(b)(4), enacted by the North Carolina legislature, Farm Bureau conceded that

       N.C.G.S. § 20-279.21(b)(4) prevails over the narrower policy provision in the Lunsford
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                                            2021-NCSC-83

                                        Barringer, J., dissenting



       Policy. Subsection 20-279.21(b)(4) of the General Statutes of North Carolina defines

       underinsured highway vehicle as

                    a highway vehicle with respect to the ownership,
                    maintenance, or use of which, the sum of the limits of
                    liability under all bodily injury liability bonds and
                    insurance policies applicable at the time of the accident is
                    less than the applicable limits of underinsured motorist
                    coverage for the vehicle involved in the accident and
                    insured under the owner’s policy. For purposes of an
                    underinsured motorist claim asserted by a person injured
                    in an accident where more than one person is injured, a
                    highway vehicle will also be an “underinsured highway
                    vehicle” if the total amount actually paid to that person
                    under all bodily injury liability bonds and insurance
                    policies applicable at the time of the accident is less than
                    the applicable limits of underinsured motorist coverage for
                    the vehicle involved in the accident and insured under the
                    owner’s policy. Notwithstanding the immediately
                    preceding sentence, a highway vehicle shall not be an
                    “underinsured motor vehicle” for purposes of an
                    underinsured motorist claim under an owner’s policy
                    insuring that vehicle unless the owner’s policy insuring
                    that vehicle provides underinsured motorist coverage with
                    limits that are greater than that policy’s bodily injury
                    liability limits.

       N.C.G.S. § 20-279.21(b)(4) (2019).

¶ 35         Farm Bureau also acknowledges that the Court of Appeals has construed the

       legislature’s use of the plural “limits” in the phrase “less than the applicable limits”

       to allow interpolicy stacking of applicable policies and does not challenge this holding

       in this matter. See Benton v. Hanford, 195 N.C. App. 88, 92–93 (2009); N.C. Farm

       Bureau Mut. Ins. Co. v. Bost, 126 N.C. App. 42, 50–51 (1997). Instead, Farm Bureau

       contends that the Chapman Policy is not an applicable policy. Specifically, the
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                                              2021-NCSC-83

                                         Barringer, J., dissenting



       Chapman Policy excludes from the definition of underinsured highway vehicle2 the

       Silverado—as both a vehicle insured under the liability coverage of the Chapman

       Policy and a vehicle operated by the insured, Chapman. This exclusion is consistent

       with the statutes enacted by the Tennessee legislature defining an uninsured

       highway vehicle for purposes of uninsured and underinsured motorist coverage. See

       Tenn. Code §§ 56-7-1201, -1202 (2016).

¶ 36          Lunsford does not dispute that the Chapman Policy is an insurance contract

       entered into in Tennessee by a Tennessee resident or the construction of the

       Chapman Policy under Tennessee law presented by Farm Bureau. Instead, Lunsford,

       relying on Benton, appears to contend that the definition of underinsured highway

       vehicle in the statute enacted by the North Carolina legislature applies to every

       policy, including the Chapman Policy. Thus, according to Lunsford, we ignore the

       plain language of the Chapman Policy and Tennessee law. Lunsford also argues

       Tennessee law does not apply because injury to a North Carolina resident is sufficient

       to establish a close connection with North Carolina and require the application of

       North Carolina law to the construction of the policy as in Collins &amp; Aikman Corp. v.

       Hartford Acc. &amp; Indemnity Co., 335 N.C. 91 (1993). Lastly, Lunsford raised in her

       reply before the Court of Appeals and her brief with this Court that a financial


              2 The Chapman Policy and the Tennessee statutes use the term “uninsured motor

       vehicle.” Because the distinction in the terms is not significant and to aid the reader, the
       term “underinsured highway vehicle” is also used when referring to the Chapman Policy and
       the Tennessee statutes.
                           N.C. FARM BUREAU MUT. INS. CO. V. LUNSFORD

                                             2021-NCSC-83

                                         Barringer, J., dissenting



       responsibility provision in the Chapman Policy dictates the application of North

       Carolina law in this matter.

                          II.   Construction of Insurance Policies

¶ 37         “This Court has long recognized its duty to construe and enforce insurance

       policies as written, without rewriting the contract or disregarding the express

       language used.” Fid. Bankers Life Ins. Co. v. Dortch, 318 N.C. 378, 380 (1986).

       “However, when a statute is applicable to the terms of an insurance policy, the

       provisions of the statute become a part of the policy as if written into it.” Bray v. N.C.

       Farm Bureau Mut. Ins. Co., 341 N.C. 678, 682 (1995). Thus, the policy is construed

       in accordance with its written terms unless a binding statute, regulation, or order

       requires a different construction. Allstate Ins. Co. v. Shelby Mut. Ins. Co., 269 N.C.

       341, 345 (1967). When unambiguous, the plain language of the policy controls, N.C.

       Farm Bureau Mut. Ins. Co. v. Martin, 376 N.C. 280, 286 (2020), or if superseded by a

       binding statute, the plain language of the statute controls, see generally Fid. Bank v.

       N.C. Dep’t of Revenue, 370 N.C. 10, 20 (2017).

                    Where a policy defines a term, that definition is to be used.
                    If no definition is given, non-technical words are to be given
                    their meaning in ordinary speech, unless the context
                    clearly indicates another meaning was intended. The
                    various terms of the policy are to be harmoniously
                    construed, and if possible, every word and every provision
                    is to be given effect.

       Woods v. Nationwide Mut. Ins. Co., 295 N.C. 500, 505–06 (1978). This Court regularly

       looks to non-legal dictionaries to determine plain meaning for policies and statutes.
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                                            2021-NCSC-83

                                       Barringer, J., dissenting



       See, e.g., Raleigh Hous. Auth. v. Winston, 376 N.C. 790, 2021-NCSC-16, ¶ 8 (2021);

       Martin, 376 N.C. at 287.

¶ 38         When a provision of an insurance policy is ambiguous, the provision will be

       given the meaning most favorable to the insured. Shelby Mut., 269 N.C. at 346.

       However, “[t]he terms of another contract between different parties cannot affect the

       proper construction of the provisions of an insurance policy.” Id. Rather,

                    [t]he existence of the second contract, whether an
                    insurance policy or otherwise, may or may not be an event
                    which sets in operation or shuts off the liability of the
                    insurance company under its own policy. Whether it does
                    or does not have such effect, first requires the construction
                    of the policy to determine what event will set in operation
                    or shut off the company’s liability and, second, requires a
                    construction of the other contract, or policy, to determine
                    whether it constitutes such an event.

       Id.
¶ 39         In this matter, Farm Bureau has argued that the language written into the

       Lunsford Policy of N.C.G.S. § 20-279.21(b)(4)—“the applicable limits of underinsured

       motorist coverage”—is clear and unambiguous. Farm Bureau, relying on the

       definition from the American Heritage Dictionary of English Language, identifies

       that the plain meaning of “applicable” as “[c]apable of being applied; relevant or

       appropriate.” Applicable, The American Heritage Dictionary of the English Language

       (5th ed. 2020), https://ahdictionary.com/word/search.html?q=applicable. Lunsford

       has neither disputed that the language is unambiguous nor disputed or offered an

       alternative plain meaning of the term “applicable.”
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                                             2021-NCSC-83

                                        Barringer, J., dissenting



¶ 40         The language is unambiguous. Thus, the statutory language and policy

       language of the Lunsford Policy provide that only underinsured motorist coverage

       capable of being applied are added together, i.e., stacked, for purposes of determining

       whether the threshold requirement of an underinsured highway vehicle is met under

       N.C.G.S. § 20-279.21(b)(4). Thus, in order for Lunsford to prevail, she would have to

       prove that the underinsured motorist coverage of the Chapman Policy is capable of

       being applied. See Martin, 376 N.C. at 285 (“The party seeking coverage under an

       insurance policy bears the burden ‘to allege and prove coverage.’ ” (quoting Brevard

       v. State Farm Mut. Auto. Ins. Co., 262 N.C. 458, 461 (1964)). In this case, which state’s

       law applies determines whether the underinsured motorist coverage of the Chapman

       Policy is capable of being applied.

¶ 41         Adopting Lunsford’s argument as done by the majority requires this Court to

       omit the word “applicable” and read the statute as:

                    An “uninsured motor vehicle,” as described in subdivision
                    (3) of this subsection, includes an “underinsured highway
                    vehicle,” which means a highway vehicle with respect to
                    the ownership, maintenance, or use of which, the sum of
                    the limits of liability under all bodily injury liability bonds
                    and insurance policies applicable at the time of the
                    accident is less than the . . . limits of underinsured motorist
                    coverage for the vehicle involved in the accident and
                    insured under the owner’s policy.

       N.C.G.S. § 20-279.21(b)(4). This construction clearly disregards established canons of

       construction for statutes and insurance policies that, when possible, “every word and

       every provision is to be given effect,” Woods, 295 N.C. at 506.
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                                            2021-NCSC-83

                                        Barringer, J., dissenting



¶ 42         The majority’s construction also does not serve the avowed purpose of the

       Motor Vehicle Safety and Financial Responsibility Act (the Act) “to require financial

       responsibility of reckless, inefficient and irresponsible operators of motor vehicles

       involved in accidents.” Howell v. Travelers Indem. Co., 237 N.C. 227, 232 (1953). This

       case does not involve mandatory or compulsory motor vehicle liability insurance to

       protect against the financial irresponsibility of reckless drivers. Underinsured

       motorist coverage is optional for the insured. Comp. N.C.G.S. § 20-279.21(b)(4) with

       N.C.G.S. § 20-279.21(b)(2), (3); see also Hartford Underwriters Ins. Co. v. Becks, 123

       N.C. App. 489, 493–94 (1996) (rejecting defendants’ suggestion that underinsured

       motorist coverage “is ‘required’ or ‘deemed mandatory’ in all liability policies”). Our

       legislature also specifically provided in subsection 20-279.21(n) of the General

       Statutes of North Carolina that “[n]othing in this section shall be construed to provide

       greater amounts of uninsured or underinsured motorist coverage in a liability policy

       than the insured has purchased from the insurer under this section.” N.C.G.S. § 20-

       279.21(n). Ironically, the construction adopted by the majority also results in

       Chapman’s vehicle being deemed an underinsured highway vehicle when Chapman’s

       vehicle has the same liability coverage amounts as Lunsford’s policy amounts for

       underinsurance. The majority’s decision, thus, provides compensation for Lunsford

       exceeding her purchase as an insured and may have the effect of limiting the options

       available to residents in North Carolina for underinsured motorist coverage by

       increasing the costs of underinsured motorist coverage beyond the means of some.
                           N.C. FARM BUREAU MUT. INS. CO. V. LUNSFORD

                                             2021-NCSC-83

                                         Barringer, J., dissenting



       Thus, while the Act is remedial and to be liberally construed, Liberty Mut. Ins. Co. v.

       Pennington, 356 N.C. 571, 573–74 (2002), substituting the Court’s judgment and

       words for that of the legislature, especially when it may undermine the beneficial

       purposes of the Act, is not appropriate. See Howell, 237 N.C. at 232 (“Whether [the

       Act] ought to be brought more nearly into harmony with its declared object is a

       legislative and not a judicial matter.”).

                                      III.   Choice of Law

¶ 43         This Court has held in accordance with the principles of lex loci contractus that

       an automobile insurance policy “should be interpreted and the rights and liabilities

       of the parties thereto determined in accordance with the laws of the state where the

       contract was entered even if the liability of the insured arose out of an accident in

       North Carolina.” Fortune Ins. Co. v. Owens, 351 N.C. 424, 428 (2000) (citing Roomy

       v. Allstate Ins. Co., 256 N.C. 318, 322 (1962)). However, this Court in Collins

       construed N.C.G.S. § 58-3-1 as recognizing an exception to the general rule of lex loci

       contractus “where a close connection exists between this State and the interests

       insured by an insurance policy.” Id. (citing Collins, 335 N.C. at 95). Collins

       acknowledged that when a policy was purchased in another state, owned by a resident

       of another state, and for a vehicle titled in another state, the policy is governed by the

       law of the state in which the policy was issued. Collins, 335 N.C. at 94 (1993) (citing

       Connor v. Insurance Co., 265 N.C. 188, 190 (1965); Roomy, 256 N.C. at 322). However,

       Collins involved an umbrella/excess liability insurance policy covering the wrongful
                           N.C. FARM BUREAU MUT. INS. CO. V. LUNSFORD

                                              2021-NCSC-83

                                         Barringer, J., dissenting



       acts of agents of the insured with property predominately in North Carolina—ninety-

       seven trucks titled in North Carolina where the insured’s transportation division was

       located. Id. at 93–95. Given this close connection between North Carolina and the

       interests insured, the Court in Collins applied North Carolina law instead of the law

       of the state where the policy was issued. Id. at 95.

¶ 44          The Chapman Policy, however, did not insure any property in North Carolina.

       Also, as the accident did not occur in North Carolina, neither the Silverado,

       Chapman, nor Lunsford were in North Carolina at the time of the liability triggering

       event. Thus, Lunsford’s reliance on Collins for the proposition that North Carolina

       has a close connection to the interests insured under the Chapman Policy is

       misplaced.

¶ 45          The Court of Appeals decision in Benton, relied on by Lunsford, also does not

       support Lunsford’s position. Not only is this decision not binding on this Court, but it

       is not relevant to the dispute. Benton did not involve or address a policy entered

       outside of North Carolina. See 195 N.C. App. at 89–90.3




              3 The majority dismisses but does not deny that Benton did not involve or address a

       policy entered outside of North Carolina. While the Benton opinion does not expressly state
       that it addresses policies entered outside or inside of North Carolina, it is clear from the
       Benton opinion that the argument before this Court concerning the impact of an out-of-state
       policy was not decided by the Benton court. Thus, we neither ignore Farm Bureau’s argument
       nor precedent from this Court. We are also mindful that even when our rulings do not
       implicate the Full Faith and Credit Clause of Art IV. § 1 of the United States Constitution,
       we should not only consider our law where consideration for other sovereigns in this
       federation is due.
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                                               2021-NCSC-83

                                           Barringer, J., dissenting



¶ 46          Instead, this case is more analogous to Owens where this Court found no error

       in the trial court’s conclusion that no significant connections existed between the

       tortfeasor’s policy and North Carolina where the policy was issued to the tortfeasor

       in Florida, the insured vehicle involved in the accident had a Florida identification

       number and Florida license plate, the tortfeasor had a Florida license, the tortfeasor

       never had a North Carolina license, and the accident occurred in North Carolina. 351

       N.C. at 428–29. In Owens, the location at the time of the accident was casual, and all

       significant connections occurred in Florida. See id. at 429. As a result, this Court

       concluded the policy “must be construed in accordance with Florida law.” Id.

¶ 47          In this matter, it is undisputed that the policy was purchased in Tennessee,

       owned by a Tennessee resident, and covered a vehicle owned by a Tennessee resident.

       The accident also did not occur in North Carolina. Thus, all the significant

       connections occurred in Tennessee. The residency of the passenger at the time of the

       accident occurred by chance, just as the location of the accident occurred by chance

       in Owens. Thus, Tennessee law applies to the Chapman Policy. The residency of a

       passenger in North Carolina at the time of the accident by itself does not constitute

       a sufficient connection to warrant application of North Carolina law.4


              4 Lunsford’s final argument that the financial responsibility provision, located in the

       Auto Liability section of the Chapman Policy, mandates that North Carolina law applies to
       the Chapman Policy in this matter was not raised before the trial court and was presented
       for consideration for the first time on appeal in her reply before the Court of Appeals. This
       Court, however, “has long held that where a theory argued on appeal was not raised before
       the trial court, ‘the law does not permit parties to swap horses between courts in order to get
                           N.C. FARM BUREAU MUT. INS. CO. V. LUNSFORD

                                              2021-NCSC-83

                                          Barringer, J., dissenting



¶ 48          As it is undisputed that underinsured motorist coverage is not capable of being

       applied under Tennessee law in the facts of this case, there are no “limits of

       underinsured motorist coverage,” applicable under the Chapman Policy. See N.C.G.S.

       § 20-279.21(b)(4). Hence, the underinsured motorist coverage limits under the

       Chapman Policy of $50,000 per person/$100,000 per accident cannot be stacked, i.e.,

       added to the underinsured motorist coverage under the Lunsford Policy. Because the

       “sum of the limits of liability under all bodily injury liability bonds and insurance

       policies applicable at the time of the accident,” $50,000 per person/$100,000 per

       accident under the Chapman Policy, is not less than the sum of “the applicable limits

       of underinsured motorist coverage,” $50,000 per person/$100,000 per accident under

       the Lunsford Policy, there is no underinsured highway vehicle. N.C.G.S. § 20-

       279.21(b)(4). Absent an underinsured highway vehicle, Lunsford cannot satisfy the

       statutory and policy requirement for underinsured motorist coverage in North

       Carolina—that the insured person, Lunsford, be legally entitled to recover bodily

       damages from the owner or operator of an underinsured highway vehicle. See

       N.C.G.S. § 20-279.21(b)(3), (4).




       a better mount in the Supreme Court.’ ” State v. Sharpe, 344 N.C. 190, 194 (1996) (quoting
       Weil v. Herring, 207 N.C. 6, 10 (1934)). Because this is a new theory for the application of
       North Carolina law not raised before the trial court, it is not appropriate for this Court to
       address this argument.
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                                             2021-NCSC-83

                                        Barringer, J., dissenting



                                       IV.    Conclusion

¶ 49         Applying the plain language of the statute dictates that the underinsured

       motorist coverage of the Chapman Policy must be capable of being applied to be

       stacked. As Tennessee law applies to the Chapman Policy and excludes underinsured

       motorist coverage in the facts of this case, the trial court’s judgment in favor of Farm

       Bureau should be affirmed.

             Chief Justice NEWBY and Justice BERGER join in this dissenting opinion.
